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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Kabbage, Inc. d/b/a KServicing, )
                                )
           Plaintiff,           )
                                )             CIVIL ACTION FILE NO.
v.                              )
                                )                1:22-cv-02101-JPB
Customers Bank,                 )
                                )
           Defendant.           )
________________________________)



CONSENT MOTION FOR EXTENSION OF CUSTOMERS BANK’S TIME
         TO RESPOND TO PLAINTIFF’S COMPLAINT

      Defendant Customers Bank (“Customers”) and Plaintiff Kabbage, Inc. d/b/a

KServicing (“Kabbage”) hereby move, pursuant to Federal Rule of Civil Procedure

6(b), for a consent order extending the time for Customers to file a response to

Plaintiff’s Complaint, which is currently due on Monday, August 29. The Parties

mediated their dispute on August 23 and made progress towards a negotiated

solution to this case. The Parties believe that with a defined period of additional

time for discussion and exchange of information that they can make continued

progress to a resolution of this case. Accordingly, the Parties jointly request an

extension of 21 days, through Monday, September 19, 2022, for Customers to



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plead, move, or otherwise respond to Kabbage’s Complaint in order to facilitate

further settlement discussions.

      WHEREFORE, Defendant Customers and Plaintiff Kabbage respectfully

requests that this Court GRANT this Consent Motion for Extension of Customers

Bank’s Time to Respond to Plaintiff’s Complaint and extend the time within which

Customers is required to answer, move, or otherwise respond to the Complaint

through and including September 19, 2022.

      A proposed order is attached hereto as Exhibit 1.

      Respectfully submitted this, the 25th day of August, 2022.

                              Signatures on Next Page




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SIDLEY AUSTIN LLP                          HOLLAND & KNIGHT LLP

   /s/ Robert S. Velevis        .          /s/ Nicholas R. Boyd     .




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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Kabbage, Inc. d/b/a KServicing, )
                                )
           Plaintiff,           )
                                )             CIVIL ACTION FILE NO.
v.                              )
                                )                1:22-cv-02101-JPB
Customers Bank,                 )
                                )
           Defendant.           )
________________________________)



             LR 7.1(D) FONT COMPLIANCE CERTIFICATION
      The undersigned counsel certifies that the within and foregoing Consent

Motion for Extension of Time to Respond to Plaintiff’s Complaint was

prepared using Times New Roman 14 point font in accordance with Local Rule 5.1

of the United States District Court for the Northern District of Georgia.

      This 25th day of August, 2022.


                                               /s/ Nicholas R. Boyd
                                               Nicholas R. Boyd




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                          CERTIFICATE OF SERVICE


      I hereby certify that on August 25, 2022, I filed the foregoing Consent

Motion for Extension of Customers Bank’s Time to Respond to Plaintiffs’

Complaint with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all counsel of record.


                                              /s/ Nicholas R. Boyd
                                              Nicholas R. Boyd




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